Case 1:17-cr-00034-.]RH-BKE Document 224 Filed 02/05/18 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA
AUGUSTA DIVISION

UNITED STATES OF AMERICA

v. CR 1:17-034

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REALITY LEIGH WINNER

ORDER ON MOTION FOR LEAVE OF ABSENCE

Jennifer Solari, having made application to the Court for a leave of absence,
and it being evident from the application that the provisions of Local Rule 83.9 have
been complied With, and no objections having been received;

IT IS HEREBY ORDERED THAT Jennifer Solari be granted leave of
absence for the following periods: March 13, 2018 through March 16, 2018 .

This 5+/day of February, 2018.

 

  

STATES DISTR_ICT COURT
SOUTHERN DISTRICT OF GEORGIA

